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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  EASTERN DIVISION

 ADRIAN DESHUN DELK,                                  )
                                                      )
 v.                                                   )       No.:   1:16-cv-01275-JDB-cgc
                                                      )
 HARDEMAN COUNTY                                      )
 CORRECTIONAL FACILITY, ET AL.                        )


      ORDER DENYING JOINT MOTION TO CONSOLIDATE DISCOVERY AND
                      MEMORANDUM OF LAW IN SUPPORT
 ______________________________________________________________________________

        Before the Court is the parties’ Joint Motion to Consolidate Discovery. (Docket Entry

 115.) The Court concludes that as opposed to consolidating discovery, the Parties may agree to

 utilize to the extent necessary, the discovery in the case of Adrian Deshun Delk v. Thelma

 Bumphus, et al., Middle District of Tennessee Case no.: 1:19-cv-0081, in the instant case, subject

 to any evidentiary or relevancy objections or any other appropriate objections. In this regard, the

 Court may then separately rule on what evidence is to be presented in the case pending before it.

        Therefore, the Motion is DENIED.

        IT IS SO ORDERED this 29th day of September 2020.



                                              s/ J. DANIEL BREEN
                                              United States District Judge
